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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KENNETH J. MELIKIAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700
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 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,
11                                          2:03-CR-453-LKK
                Plaintiff,
12                                          PRELIMINARY ORDER OF
           v.                               FORFEITURE AND PUBLICATION
13                                          THEREOF
     ROBERT DALE OSTERKAMP,
14              Defendant.
15
16        Based upon the plea agreement entered into between plaintiff

17   United States of America and defendant Robert Dale Osterkamp, it is

18   hereby

19        ORDERED, ADJUDGED AND DECREED as follows:

20        1.    Pursuant to 21 U.S.C. § 853(a), defendant Robert Dale

21   Osterkamp's interest in the following property shall be condemned and

22   forfeited to the United States of America, to be disposed of according

23   to law:

24              a.   Approximately $18,700 in U.S. Currency,
                     seized on or about October 2, 2003, from the
25                   residence located at 102 Rio Del Mar,
                     American Canyon, California.
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 1        2.    The above-listed property was constitutes or is derived from
 2   proceeds defendant obtained directly or indirectly as a result of the
 3   commission of the violation of 21 U.S.C. §§ 841(a)(1) and 846.
 4        3.     Pursuant to     Rule   32.2(b), the Attorney General (or a
 5   designee) shall be authorized to seize the above-described property.
 6   That the aforementioned forfeited property shall be seized and held
 7   by the United States Marshals Service, in its secure custody and
 8   control.
 9        4.     a.     Pursuant 21 U.S.C. § 853(n) and Local Rule 83-171, the
10   United    States    forthwith   shall   publish   at   least   once   for   three
11   successive weeks in the Napa Register (Napa County), a newspaper of
12   general circulation located in the county in which the above-described
13   property was seized, notice of this Order, notice of the Attorney
14   General’s intent to dispose of the property in such manner as the
15   Attorney General may direct, and notice that any person, other than
16   the defendant, having or claiming a legal interest in the above-listed
17   forfeited property must file a petition with the Court within thirty
18   (30) days of the final publication of the notice or of receipt of
19   actual notice, whichever is earlier.
20               b.     This notice shall state that the petition shall be for
21   a hearing to adjudicate the validity of the petitioner's alleged
22   interest in the property, shall be signed by the petitioner under
23   penalty of perjury, and shall set forth the nature and extent of the
24   petitioner's right, title or interest in the forfeited property and
25   any additional facts supporting the petitioner's claim and the relief
26   sought.
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 1              c.   The United States may also, to the extent practicable,
 2   provide direct written notice to any person known to have alleged an
 3   interest   in   the   property   that   is   the   subject   of   the   Order   of
 4   Forfeiture, as a substitute for published notice as to those persons
 5   so notified.
 6        5.    If a petition is timely filed, upon adjudication of all
 7   third-party interests, if any, this Court will enter a Final Order of
 8   Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will
 9   be addressed.
10   SO ORDERED this 12th day of July, 2005.
11
12                                      /s/Lawrence K. Karlton
                                        LAWRENCE K. KARLTON
13                                      United States District Judge
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